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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 NETWORK DATA ROOMS, LLC,                                     :
                                            Plaintiff,        :
                                                              :   22 Civ. 2299 (LGS)
                            -against-                         :
                                                              :        ORDER
 SAULREALISM LLC, et al.,                                     :
                                            Defendants. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, by Order dated April 26, 2022, the Court reserved decision on Plaintiff’s

motion for a preliminary injunction pending review of an independent expert’s report.

        WHEREAS, on May 10, 2022, Terry Patterson was appointed to serve as an independent

expert pursuant to Federal Rule of Evidence 706.

        WHEREAS, on June 7, 2022, Mr. Patterson’s initial report was filed.

        WHEREAS, on June 14, 2022, the parties filed letters proposing additional questions for

Mr. Patterson to address in a supplemental report.

        WHEREAS, on June 30, 2022, Mr. Patterson’s supplemental report was filed. It is hereby

        ORDERED that by July 27, 2022, Mr. Patterson shall produce a second supplemental

report that either (i) confirms the accuracy of the following statements or (ii) denies the accuracy

of the following statements with an explanation as to why the statement is not correct:

        •    Regardless of any action that may have been taken on Defendant’s Virtual Machine –

             including deletion of code, restoring the Virtual Machine and/or “rolling back” the

             Virtual Machine to a particular date in the past – such action would have no impact on

             code that was previously committed to the Azure DevOPS repository.
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      •   With respect to the Azure DevOPS repository change logs/branch history, they (i)

          show no deletions of any code, (ii) cannot be altered and (iii) date back to at least

          December 2020.

Dated: July 21, 2022
       New York, New York




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